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                                                                            October 10, 2020


     VIA ECF

     Hon. George B. Daniels
     United States District Judge
     Daniel Patrick Moynihan Courthouse
     500 Pearl Street
     New York, NY 10017-1312


                      Re: Jane Doe I, et al. v. Harvey Weinstein, et al., No. 1:20-cv-05241-GBD

     Dear Judge Daniels:

             We are counsel to Defendant Robert Weinstein (“Mr. Weinstein”) in the above-
     referenced action and write, on behalf of all Defendants and with the consent of Plaintiffs, to
     respectfully request the Court adjourn the date by which Defendants must answer or otherwise
     respond to the Complaint pending the Court’s decision on Plaintiffs’ motion to remand the action
     back to state court (the “Remand Motion”) (ECF Nos. 13-15).

             The current deadline for Defendants’ responses to the Complaint is October 14, 2020,
     which Your Honor set by order dated July 16, 2020 (ECF No. 12), following Mr. Weinstein’s
     submission of a letter notifying the Court of Plaintiffs’ stated intention to move to remand the
     action back to state court (ECF No. 10).1 Plaintiffs filed their Remand Motion on August 6,
     2020, approximately three weeks after Your Honor set the October 14 deadline. On August 27,
     2020, Mr. Weinstein filed an opposition to the Remand Motion (ECF Nos. 18-20), and on
     September 10, 2020 Plaintiffs filed their reply brief (ECF No. 21).

             As the pleading and procedural requirements concerning motions to dismiss are different
     between state and federal court, judicial economy and conservation of party resources favor
     deferring the briefing on Defendants’ anticipated motions to dismiss the Complaint until the
     Court determines whether this case will proceed in this forum. Accordingly, we respectfully

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      On the same date, the Court adjourned the Initial Pretrial Conference in this matter until December 9, 2020. (See
     ECF No. 11.)
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request that the time by which Defendants must answer or otherwise respond to the Complaint be
adjourned while the Remand Motion remains pending. To the extent the Court retains
jurisdiction over this action, we propose that the Court order Defendants’ responses be due 30
days after the Court’s denial of the Remand Motion or, in the alternative, and in the event the
Court prefers setting a firm date for Defendants’ responses, grant an adjournment of 90 days
from the current October 14 deadline.2

         Such an adjournment would be consistent with Your Honor’s prior order of July 16, 2020
adjourning the initial response date by 90 days. It would also be consistent with prior
determinations of other judges in this District. See, e.g., Wexler v. Allegion (UK) Ltd., No. 16
Civ. 2252 (ER), 2016 WL 6662267, at *1 n.2 (S.D.N.Y. Nov. 9, 2016) (court stayed briefing on
motion to dismiss pending resolution of plaintiff’s motion to remand); Pu v. Russell Publ’g Grp.,
Ltd., No. 15-CV-3936 (VSB), 2015 WL 13344079, at *4 (S.D.N.Y. Dec. 29, 2015) (same); see
also In re Residential Capital, LLC, 515 B.R. 52, 55 & n.3 (Bankr. S.D.N.Y. 2014) (noting that
eight judges in this District deferred deciding substantive motions while motion for remand
remained pending in related bankruptcy court action). This includes determinations in other
litigations arising out of Harvey Weinstein’s alleged sexual misconduct. See Sokola v.
Weinstein, No. 1:20-cv-00925-LJL, ECF No. 11 (S.D.N.Y. Feb. 14, 2020) (adjourning deadline
for defendants’ responses in light of forthcoming remand motion); Canosa v. Ziff, No. 1:18-cv-
04115-PAE, ECF No. 52 (S.D.N.Y. June 28, 2018) (doing same where remand motion was
pending; “[t]he Court shares the parties’ view that a decision on remand ought to precede any
motions to dismiss”).

        As noted above, Defendants previously requested (with Plaintiffs’ consent) an
adjournment of the deadline to respond to the Complaint in anticipation of the filing of the
Remand Motion. All parties to this action have likewise consented to the instant request. In
addition, because the Court has not yet set a briefing schedule for subsequent briefing on
Defendants’ anticipated motions to dismiss, the adjournment requested herein will not affect any
other current deadlines.

        We appreciate Your Honor’s consideration of this request.

                                                         Respectfully submitted,


                                                          /s/ Gary Stein
                                                          Gary Stein


cc:     All Counsel of Record (via ECF)


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  Plaintiffs have requested that we include in this request the following language, to which Defendants have no
objection: In the event the Court denies the Remand Motion, Plaintiffs reserve the right to amend the Complaint,
and no motions to dismiss should be made until after Plaintiffs amend the Complaint should they elect to do so. The
inclusion of any language regarding motions to dismiss shall not be construed to mean that Plaintiffs think such a
motion has any basis, and Plaintiffs reserve their rights to oppose any motion to dismiss.
